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PROPOSED COUNSEL FOR DEBTORS

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

IN RE:                                            §                CHAPTER 11
                                                  §
NATIONAL RIFLE ASSOCIATION                        §                CASE NO. 21-30085-___
OF AMERICA and SEA GIRT LLC,                      §
                                                  §
        DEBTORS1                                  §                Joint Administration Requested


                          DEBTORS’ WITNESS AND EXHIBIT LIST
                      FOR HEARING TO BE HELD ON JANUARY 20, 2021

        National Rifle Association of American and Sea Girt LLC (the “Debtors”) may call the

following witnesses and introduce the following exhibits at the hearing scheduled on January 20,

2021 at 2:00 p.m. in the above-captioned proceeding (the “Hearing”):

                                             I. WITNESSES

       1.        The Debtor reserves the right to call the following individual as witnesses at the
Hearing:
                 a.       Shawne E. Soto

                 b.       Robert G. Owens

                 c.       Sonya B. Rowling

1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.
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               d.     Any witness(es) identified or called by any other parties; and

               e.     Rebuttal witnesses, as necessary.



                                        II. EXHIBITS

       2.      The Debtors reserve the right to introduce the following document as an exhibit at
the Hearing:

               Exhibit No.     Description
                     1         Declaration of Shawne E. Soto in Support of Certain First Day
                               Motions [Docket No. 10]
                     2         Declaration of Robert G. Owens in Support of Certain First Day
                               Motions [Docket No. 11]
                     3         Declaration of Sonya B. Rowling in Support of Certain First Day
                               Motions [Docket No. 12]

       3.      The Debtors reserve the right to supplement this Witness and Exhibit List.

Dated: January 19, 2021                      Respectfully submitted,

                                             /s/Patrick J. Neligan, Jr.
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                                             PROPOSED FOR THE DEBTOR
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 19th day of January 2021 a true and correct
copy of the foregoing was served electronically via this Court’s CM/ECF notification system.

                                             /s/ John D. Gaither
                                            John D. Gaither




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